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Case 2:07-cr-00625-SRC           Document 55        Filed 10/14/09   Page 1 of 2 PageID: 205




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      Hackensack, NJ 07601
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      Attorneys for Defendant. Craig Wask


                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY


      UNITED STATES OF AMERICA,

                              Plaintiff,                   Criminal No.: 07-625 (SRC)

                     vs.                                   Hon. Stanley R. Chesler

     BLUE RIDGE ERECTORS, INC.,
     FRANCIS IMPECIATI a/k/a                                     ORDER
     “FRA’K IlPECIA II ‘and
     CRAIG WASK

                              Dc fen dan ts.



              THIS MATTER, having come before the Court upon application of (alantucci &


     Patuto. as attorneys on behalf of Defendant, Craig Wask, and the Court having

     considered the applicable documentation and arguments ol counsel, and br good cause

     shown.

              II IS on this      ,             da                               2009

            ORDERED AND ADJUDGED that the original sentence of the Court entered

     April 7. 2009. is hereby modified as follows:

        1. Dunn the pendency of the defendant, Craig Wask’s residene for a period of tbun

           (4) months at a community corrections center. halfway house. or simi ar
Case 2:07-cr-00625-SRC        Document 55   Filed 10/14/09   Page 2 of 2 PageID: 206




           residential facility, the defendant. Craig \Vask. shall be eligible or weekend

           lrivi I ege s;

        2. All other conditions of the sentence and supervised release shall remain in full

           frce and effect.




                                                       R. CITESLER. LSD.J.
